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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 2:18-cv-352-FtM-99MRM

DAVID LEE MATTHEWS,

               Plaintiff,
v.

ACT OF CLASS MOVING & STORAGE,
LLC, PHIL MERRITT,

            Defendants.
__________________________________/

              MOTION FOR EXTENSION OF TIME NUNC PRO TUNC
     TO CONFER REGARDING SETTLEMENT AND TO CONFER TELEPHONICALLY

        Plaintiff, David Lee Matthews, by and through the undersigned counsel, pursuant to the

Court’s Scheduling Order [DE 30] (“Order”), respectfully requests a 21-day extension of time to

confer regarding settlement, and to do so telephonically, and in support states the following:

1.      The Court’s Order required the parties to confer in person regarding settlement by August

1, 2018.

2.      The parties have not conferred regarding settlement as required by the Court’s Order.

3.      Plaintiff is attempting to proactively gain compliance with the Court’s Order by filing this

Motion and requesting a 21-day extension of time to confer regarding settlement.

4.      Additionally, the undersigned is located in Fort Lauderdale, Florida and Defendants’

counsel is located in Cape Coral, Florida. Plaintiff respectfully requests that the Court permit the

parties’ counsel to confer regarding settlement telephonically to avoid the expense of travel.

        WHEREFORE, Plaintiff respectfully requests that the Court (1) grant an extension of time

through August 21, 2018 to confer regarding settlement, and (2) allow the parties’ counsel to

confer regarding settlement telephonically.

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Dated: July 4, 2018
                                             Respectfully submitted,

                                             Koz Law, P.A.
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                                             Elliot Kozolchyk, Esq.
                                             Bar No.: 74791

                              CERTIFICATE OF CONFERRAL
       Plaintiff’s counsel has conferred with Defendants’ counsel regarding the relief set forth in

this motion and is awaiting Defendants’ response.




                                             Elliot Kozolchyk, Esq.




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on August 2, 2018 with the Clerk of Court using CM/ECF along with having served all counsel of
record or pro se parties identified on the service list incorporated herein in the manner specified,
either via transmission of Electronic filing generated by CM/ECF or in some other authorized
manner for those counsel or parties not authorized to receive electronically Notice of Electronic
Filing.




                                              Elliot Kozolchyk, Esq.

                                         SERVICE LIST

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